       Case 2:20-cv-02118-DMF        Document 21     Filed 06/23/21    Page 1 of 2




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12 Attorney for Defendant Aetna Life Insurance Company
13                       IN THE UNITED STATES DISTRICT COURT
14                                 IN THE STATE OF ARIZONA
15   Ashley Kostial, a single woman,           )
                                               )    No. CV 20-02118 - DMF
16                   Plaintiff,                )
                                               )    JOINT REPORT ON
17   v.                                        )    SETTLEMENT TALKS
                                               )
18   Aetna Life Insurance Company,             )    (ERISA CASE)
     claims/plan administrator and plan        )
19   fiduciary,                                )
                                               )
20                   Defendants.               )
                                               )
21                                             )
22
23         Pursuant to the Court’s Case Management Order, Doc 19, the Parties submit this Joint
24 Report on Settlement Talks. The Parties have recently resolved the case and anticipate filing
25 dismissal documents within the next thirty (30) days.
26
       Case 2:20-cv-02118-DMF        Document 21     Filed 06/23/21   Page 2 of 2




 1         DATED this 23rd day of June 2021.
 2                                          SCHLEIER LAW OFFICES, P.C.
 3
                                            /s/ Bradley H. Schleier
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                                            Attorney for Defendant Aetna Life Insurance
12                                          Company
13
   I certify that on this 23rd day
14
   of June 2021, I electronically
15 filed the foregoing with the
   U.S. District Court Clerk using
16 the CM/ECF system, which shall
17 send notification of such filing to:
18 Kristina Holmstrom Esq.
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